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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

CHARLES W. HUMPHREY, SR.,                             )
                                                      )       Case No.      3:15-cv-00794
       Plaintiff,                                     )
                                                      )
v.                                                    )       COMPLAINT
                                                      )
AMERICAN ADJUSTMENT BUREAU, INC.,                     )
                                                      )       JURY DEMANDED
       Defendant.                                     )


       Now comes the Plaintiff, CHARLES W. HUMPHREY, SR., by and through his

attorneys, and for his Complaint against the Defendant, AMERICAN ADJUSTMENT

BUREAU, INC., Plaintiff alleges and states as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for damages for violations of the Fair Debt Collection Practices

Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

                                 JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337 and 1367, and 15

U.S.C. § 1692k(d). This jurisdiction includes supplemental jurisdiction with respect to any

pendent state law claims.

       3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events and omissions giving rise to this claim occurred in this District.

                                             PARTIES

       4.      Plaintiff is an individual who was at all relevant times residing in New Britain,

Connecticut.
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       5.      On information and belief, Defendant is a corporation of the State of Connecticut,

which has its principal place of business in Waterbury, Connecticut.

                            FACTS COMMON TO ALL COUNTS

       6.      Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692a(3), as he is a natural

person allegedly obligated to pay a debt.

       7.      At all relevant times, Defendant acted as a “debt collector” within the meaning of

15 U.S.C. § 1692a(6), in that it held itself out to be a company collecting a consumer debt

allegedly owed by Plaintiff.

       8.      The aforementioned alleged debt is a “debt” within the meaning of 15 U.S.C. §

1692a(5), in that it is an alleged obligation of a consumer to pay money arising out of a

transaction in which the money, property, insurance and/or services which are the subject of the

transaction were primarily for personal, family and/or household purposes.

       9.      On July 9, 2009, Plaintiff filed a chapter 7 bankruptcy petition in the United

States Bankruptcy Court, District of Connecticut, Case No. 09-51335. On October 6, 2009, an

order of discharge was entered in Plaintiff’s bankruptcy case.

       10.     On or about February 28, 2015, Defendant reported the account for the

aforementioned alleged debt, which was discharged in Plaintiff’s bankruptcy case, as “In

collection” on Plaintiff’s TransUnion credit report.

       11.     During or about March of 2015, Plaintiff applied for a Citgo credit card. He was

denied an extension of credit.

       12.     Plaintiff would like to obtain a gas and/or department store credit card account so

that he can rebuild his credit after his bankruptcy case and so that he can enjoy the convenience

of only having to make payments on a monthly basis.
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       13.     In its attempts to collect the alleged debt as outlined above, Defendant damaged

Plaintiff and violated the FDCPA.

       14.     As a result of Defendant’s actions as outlined above, Plaintiff has suffered and

continues to suffer stress, aggravation, emotional distress and mental anguish.

                                            COUNT I

       15.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       16.     Defendant violated 15 U.S.C. § 1692d by engaging in conduct the natural

consequence of which was to harass, oppress and/or abuse Plaintiff in connection with the

collection of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT II

       17.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.
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       18.     Defendant violated 15 U.S.C. § 1692e by using a false, deceptive and/or

misleading representation or means in connection with the collection of the alleged debt.

               WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT III

       19.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       20.     Defendant violated 15 U.S.C. § 1692e(2)(A) by falsely representing the character,

amount and/or legal status of the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);
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               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT IV

       21.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       22.     Defendant violated 15 U.S.C. § 1692e(8) by communicating or threatening to

communicate credit information which was known or which should have been known to be false,

including failing to communicate that the alleged debt was disputed.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.
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                                            COUNT V

       23.      Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       24.     Defendant violated 15 U.S.C. § 1692e(10) by using a false, deceptive or

misleading representation or means in connection with the collection of the alleged debt and/or

to obtain information about Plaintiff.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT VI

       25.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       26.     Defendant violated 15 U.S.C. § 1692f by using an unfair or unconscionable

means to attempt to collect the alleged debt.

       WHEREFORE, Plaintiff prays for the following relief:
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               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

               d.      Any other legal and/or equitable relief as the Court deems appropriate.

                                            COUNT VII

       27.     Plaintiff incorporates all of the allegations and statements made in paragraphs 1

through 14 above as if reiterated herein.

       28.     Defendant violated 15 U.S.C. § 1692f(1) by collecting an amount where such

amount was not permitted by law.

       WHEREFORE, Plaintiff prays for the following relief:

               a.      Judgment against Defendant for Plaintiff’s actual damages suffered as a

                       direct and proximate result of Defendant’s violations of the FDCPA,

                       pursuant to 15 U.S.C. §1692k(a)(1);

               b.      Judgment against Defendant for $1,000 in statutory damages for

                       Defendant’s violations of the FDCPA, pursuant to 15 U.S.C.

                       §1692k(a)(2)(A);

               c.      Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and

                       costs incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and
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                d.      Any other legal and/or equitable relief as the Court deems appropriate.


                                         JURY DEMAND

        Plaintiff demands a trial by jury on all issues in this action, except for any issues relating

to the amount of attorneys’ fees and litigation costs to be awarded should Plaintiff prevail on any

of his claims in this action.



                                                      RESPECTFULLY SUBMITTED,

                                                      CHARLES HUMPHREY

                                                      By:     /s/ Gregory F. Arcaro
                                                              Attorney for Plaintiff


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